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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                                CENTRAL DIVISION
                                  AT LEXINGTON

CIVIL ACTION NO. 13-5-DLB-REW

JULIAN SHULMAN                                                                   PLAINTIFF


vs.                     MEMORANDUM OPINION AND ORDER


AMAZON.COM.KYDC, LLC, et al.                                                 DEFENDANTS

                                  ***************************

I.     Introduction

       Defendants Amazon.com.kydc, LLC and Amazon.com, Inc. (collectively, “the

Amazon Defendants”) move for summary judgment on pro se Plaintiff Julian Shulman’s

(“Shulman”) claim for violations of the Americans with Disabilities Act (“ADA”) and Kentucky

Civil Rights Act (“KCRA”). The Amazon Defendants argue that Shulman failed to establish

a prima facie case of disability discrimination because his osteoarthritis does not constitute

a disability within the meaning of the ADA Amendments Act of 2008 (“ADAAA”).

Alternatively, the Amazon Defendants contend that Shulman’s claim fails the McDonnell

Douglas burden shifting test because he cannot prove that his performance-based

termination was a pretext for discrimination. The Amazon Defendants then argue that

summary judgment is appropriate on Shulman’s breach of implied-in-fact contract and class

action claims because the record is devoid of supporting evidence. The Court has

jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1367.




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II.    Factual and Procedural Background

       On February 8, 2008, Amazon.com.kydc, LLC (“Amazon Ky.”) offered Shulman

employment as a Warehouse Associate at their “LEX1" fulfillment center in Lexington,

Kentucky. (Doc. # 72-2). The offer letter stated that Shulman would be an employee-at-

will, so he or Amazon Ky. could “terminate [the] relationship at any time for any reason, with

or without cause.” (Id.). The letter set forth the terms of employment, which superseded

any previous discussions or offers of employment. (Id.). Any additions to or modifications

of these terms had to be in writing and signed by both Shulman and an Amazon Ky. officer.

(Id.). Shulman “accept[ed] employment with Amazon.com under the terms set forth in th[e]

letter” on February 11, 2008. (Id.).

       Warehouse Associates are responsible for receiving and relocating products, picking

customer orders “on all levels of a multi-level mezzanine,” and packing and shipping

customer orders. (Doc. # 72-3). The physical demands of the position include standing,

walking, lifting up to sixty pounds, bending, reaching, kneeling and crouching for eight to

twelve hour shifts, with or without reasonable accommodation. (Id.). Shulman signed a

Job Description setting forth these requirements, thus certifying that he understood the

demands of the position and would be “able to meet, with or without accommodation, the

expectations for employment.” (Doc. # 72-3). Although he had the opportunity to ask

questions about the position before signing, he does not remember doing so. (Docs. # 72-

3; 72-21 at 7-8). He also acknowledged receipt of the Employee Handbook, which

encouraged him to report workplace discrimination, retaliation and harassment. (Doc. # 72-

5).



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       Amazon Ky. expects their Warehouse Associates, commonly referred to as

“pickers,” to meet certain productivity standards. (Docs. # 72-7 at 3-4; 72-8 at 3, 7). These

standards, which represent the expected number of units picked per hour, are calibrated

by analyzing average picker performance. (Id.). All pickers must perform at 100% of the

productivity standards. (Id.). Area Managers review picker productivity weekly, rather than

daily or hourly, thus allowing pickers some flexibility in meeting the productivity standards.

(Doc. # 72-7 at 3-4).

       If a picker fails to “make rate,” their Area Manager will notify Human Resources

(“HR”). (Id.). An HR representative reviews the picker’s history of performance counseling

and determines what kind of action is appropriate under the “progressive discipline” system.

(Docs. # 72-6; 72-7 at 5). The representative then completes the necessary paperwork and

relays the decision to the Area Managers, who discuss their performance concerns with the

picker. (Id.).

       Amazon Ky.’s “progressive discipline” system imposes escalating consequences on

pickers for persistent failure to meet productivity standards. (Docs. # 72-6; 72-7 at 5). A

struggling picker first receives coaching from a top performer. (Id.). Coaching remains

active for thirty days, then “rolls off” of the picker’s record if there are no further mistakes.

(Id.). If the picker commits another mistake in that thirty day period, he or she will receive

a documented verbal warning, active for another thirty days. (Id.). First written warnings

(active for thirty days), second written warnings (active for sixty days) and final written

warnings (active for ninety days) may follow. (Id.). If a picker receives a second final

written warning or a total of six documented performance warnings (i.e. a first, second or

final written warning) within a rolling twelve month period, Amazon Ky. will terminate his or

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her employment.1 (Doc. # 72-6).

       The record reveals that Shulman struggled to meet productivity standards. After

only a month of employment, he received a first written warning. (Doc. # 72-9 at 1-2). This

warning rolled off his record, but by October 2008 he earned a documented verbal warning.

(Id. at 3-4). Amazon Ky. issued two more documented verbal warnings in December 2009

and April 2010, followed by a first written warning in May 2010. (Id. at 7-9). Shulman

received as many as four coaches in the following five months.2 (Doc. # 72-8).

       Shulman’s performance declined noticeably in early 2011. He received a first written

warning on January 24, 2011. (Id. at 13-14). Amazon Ky. issued a second written warning

just six days later. (Id. at 11-12). According to this warning, Shulman had failed to meet

performance expectations for the six week period from December 19, 2010 to January 23,

2011 and consistently performed in the bottom 25% of all employees in his department.

(Id.). Around this same time period, Shulman informed HR representative Vince Woodard

that he was experiencing foot and ankle pain. (Doc. # 72-21 at 14). Woodard urged him

to consult a doctor. (Id.). Shulman again failed to meet productivity expectations in early

February, prompting Amazon Ky. to issue him a final written warning. (Doc. # 72-9 at 19).


1) Additionally, “[i]f an associate is not performing in a collaborative manner and it is limiting
(repeated or excessive failures to meet minimum expectations) their success in a number of areas,
(including quality), then an associate’s entire performance may be evaluated to determine overall
level of corrective action up to and including termination, at the discretion of Amazon.com.” (Doc.
# 72-6).

2) Although the Amazon Defendants provided a snapshot of Shulman’s performance issues, the
record itself suggests that they overlooked a few disciplinary actions. (Doc. # 72-1 at 11). While
the Court sees evidence of four coaches between June 2010 and November 2010, the Amazon
Defendants only note two. (Docs. # 72-1 at 11; 72-8 at 1). The record also suggests that Shulman
received a second written warning on May 16, 2010, but again, the Amazon Defendants make no
mention of it. (Id.). Despite these discrepancies, the overall point is clear–Shulman underwent a
significant amount of performance counseling during his employment at LEX1.

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         On March 1, 2011, Shulman sought treatment at Lexington Podiatry. (Doc. # 72-

at 5). He told Dr. Nicole Freels (“Dr. Freels”) that he had been experiencing foot and ankle

pain for about three years.      (Id.).   He reportedly tried over-the-counter insoles and

powersteps, but they provided only temporary relief. (Id.). Dr. Freels ordered custom

inserts for Shulman, gave him a wraptor ankle brace and night splint to wear and

prescribed a non-steroidal anti-inflammatory drug called Mobic. (Id.). She also instructed

Shulman on daily stretching exercises and referred him to Advantage Physical Therapy.

(Id.).

         When an employee asks for an accommodation, Amazon Ky. requests medical

documentation. (Doc. # 72-10 at 2). Specifically, they give the employee a Request for

Medical Information (“RMI”) form for his or her physician to complete. (Id.). The physician

should identify the employee’s physical restrictions, the expected duration of these

restrictions and whether the condition substantially limits the employee’s ability to perform

major life activities. (Id.; Doc. # 72-11). Dr. Freels completed such a form for Shulman,

reporting that he had a 50% restriction on standing, walking or climbing stairs. (Doc. # 72-

11). Although she did not state how long she expected these restrictions to last, she

indicated that his osteoarthritis did not substantially limit his ability to perform major life

activities. (Id.).

         On March 11, 2011, Shulman had his initial consultation at Advantage Physical

Therapy. (Doc. # 72-22 at 11-13). He indicated that his pain was a 4 out of 10 at the worst

and that work “severely exacerbate[d] his symptoms.” (Id.). Advantage staff formulated

a care plan for Shulman that included physical therapy sessions twice a week for four

weeks, as well as a home exercise plan (“HEP”). (Id.). Staff aimed to see “a 50%

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improvement in his tolerance of weight bearing activities” and pain “decreased to a 2/10 at

worst” at the end of six weeks. (Id.).

       Meanwhile, Shulman’s site safety team, composed of Area Manager Jason Thomas

(“Thomas”), Operations Manager Shelia Durham (“Durham”) and various HR personnel,

reviewed his RMI and discussed whether they could accommodate his condition by putting

him in another position. (Docs. # 72-10; 72-12). Shulman allegedly asked Thomas to place

him in “rebin,” but Durham felt that rebin may not be an appropriate accommodation

because it required standing 100% of the time. (Id.). The site safety team ultimately

determined that they could not accommodate Shulman’s limitations, so Amazon Ky.

approved him for a one month leave of absence beginning on March 24, 2011. (Doc. # 72-

13 at 1). They instructed Shulman to submit an updated RMI no later than April 21, 2011

in order to request an extension of his leave or to return to work. (Id.).

       On April 11, 2011, Shulman asked Amazon Ky. to “extend [his] FMLA leave to the

full 12 weeks” because his “condition ha[d] not yet substantially improved.” (Id. at 2).

Amazon Ky. was “unable to extend medical leave based on [Shulman’s] personal diagnosis

of [his] condition,” but would consider his request if accompanied by updated medical

documentation. (Id. at 3). It again asked Shulman to submit an updated RMI on or before

April 21, 2011. (Id.).

       Shulman had a follow-up appointment with Dr. Freels on April 27, 2011. (Doc. # 72-

22 at 7). Shulman informed her that he had been wearing his wraptor braces and custom

orthotics, which seemed to help quite a bit, but he had not been wearing his night splint or




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doing his HEP.3 (Id.). He had not been to physical therapy since his initial consultation.

(Id.). Shulman indicated that he was able to work for five hours without pain, but then

began experiencing discomfort. (Id.). Dr. Freels completed another RMI form, stating that

Shulman had a permanent restriction of walking at 75% capacity and should be limited to

five hour shifts. (Doc. # 72-15). When asked whether Shulman’s condition substantially

limited his ability to perform major life activities, Dr. Freels responded by checking exactly

between the “Yes” and “No” boxes. (Id.).

       Once Shulman provided the updated RMI, Amazon Ky. approved him for a reduced

work schedule. After further prompting from Amazon Ky., Shulman finally provided the

updated RMI. (Docs. # 72-13; 72-15; 72-16). He would be permitted to work five hour

shifts from May 20, 2011 to July 13, 2011, at which point he would have exhausted his 480

hours FMLA time for the year.        (Id.). Amazon Ky. stated that it would re-evaluate

Shulman’s situation at that time. (Id.).

       After resuming work, Shulman asked Amy Derheim, a member of the Leave of

Absence and Accommodations Team, to accommodate his disability by allowing him to

work a full ten hour shift but take a ten minute break every hour. (Doc. # 72-21 at 16-17).

She told him that Amazon Ky. would be willing to consider the proposed accommodation

if he provided supporting medical documentation. (Id.). Shulman never provided the

requested documents to Amazon Ky., although he insists that he was in the process of

obtaining the updated RMI at the time of his termination. (Id.; Doc. # 91-2, p. 3, ¶ 12).




3) At his deposition, Shulman admitted that he stopped taking his anti-inflammatory medication
because he didn’t notice any improvement in his condition. (Doc. # 72-21 at 11).

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       Shulman attended two physical therapy sessions in June. (Docs. # 72-22 at 7, 14-

15; 87-1 at 1-2). Although Shulman insists that he “went to physical therapy once or twice

a week every week I worked at LEX1 after it was prescribed for me,” medical records

indicate that these were Shulman’s first sessions since his initial evaluation. (Docs. # 91-2,

p.3, ¶ 19; 72-22 at 7, 11-15). Regardless, Shulman told Advantage staff that his symptoms

were improving, even though he had not been performing his HEP. (Id. at 14). Shulman

did not experience any significant ankle pain between sessions. (Id. at 15). However, he

had been off of work, which usually resulted in an improvement in his symptoms. (Id.).

       There is some dispute as to whether Shulman’s final written warning from February

14, 2011 rolled off his record shortly after his return. Amazon Ky. maintains that the

warning was still active, as Shulman’s fifty six days of leave could not be counted towards

the ninety day expiration date. (Doc. # 72-1 at 10-11). Shulman insists that those fifty six

days did count, and thus, the warning expired on May 14, 2011. (Doc. # 87 at 20). After

returning to work, Shulman received coaching twice. (Docs. # 72-9 at 20; 72-8 at 11).

Although Amazon Ky. explains that it simply wanted to give Shulman time to readjust to the

workplace, he believes that he received coaching because his final written warning had

expired. (Doc. # 72-1 at 10-11; Doc. # 87 at 20).

       After Shulman failed to meet productivity standards for the week of June 19, 2011

to June 26, 2011, Thomas notified HR representatives and a Termination Request was

prepared. (Doc. # 72-17). On July 13, 2011, the expiration date for Shulman’s FMLA

leave, Amazon Ky. terminated his employment. (Doc. # 72-17). The termination letter

offered the following explanation for this decision:



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         This termination is a result of not meeting productivity expectations. From
         2011-06-19 - 2011-06-26 you processed 2976 units over 25.00 hours for a
         rate of 119.0 units per hour or 92% to expectation. Based on the
         expectations for the process(es) in which you worked, you should have
         processed 3235 units in 25.00 hours, resulting in your termination.

(Id.).

         On March 29, 2012, Shulman filed a Notice of Charge of Discrimination with the

Equal Employment Opportunity Commission (“EEOC”). (Doc. # 72-18). The EEOC

dismissed the claim, closed the file and notified Shulman of his right to sue on September

12, 2012. (Doc. # 72-19). Shulman then filed this lawsuit against Amazon Ky., its

corporate parent company, Amazon.com, Inc. and John Does 1-25 in Fayette Circuit Court.

(Doc. # 1-1). The Amazon Defendants promptly removed this case to federal court.4 (Doc.

# 1). Discovery has now closed and the Amazon Defendants’ Motion for Summary

Judgment is ripe for the Court’s review. (Docs. # 72, 87 and 90).5

III.     Analysis

         A.    Standard of Review

         Summary judgment is appropriate when there is no genuine dispute as to any



4) Although Shulman named Liberty Mutual Group, Inc. as a Defendant in this action, he failed to
serve he complaint and summons upon Liberty Mutual within 120 days of removal. (Doc. # 1-1).
Accordingly, the Court dismissed Liberty Mutual without prejudice pursuant to Federal Rule of Civil
Procedure 4(m). (Doc. # 6).

5) In his first response to the Motion for Summary Judgment, Shulman argues that the Amazon
Defendants’ Motion should be denied as untimely filed pursuant to Federal Rule of Civil Procedure
56(b). (Doc. # 73). The Court’s initial Scheduling Order imposed a discovery deadline on April 10,
2014 and a dispositive motion deadline on May 15, 2014. (Doc. # 12). The Court later extended
the discovery deadline to May 10, 2014 and the dispositive motion deadline to June 15, 2014
(Docs. # 54 and 60). A sanctions issue arose shortly after the close of discovery, prompting the
Court to vacate the dispositive motion deadline. (Doc. # 63). Although the Court promised to reset
the dispositive motion deadline by subsequent order, if necessary, it failed to do so. Thus, the
Court will consider the Amazon Defendants’ Motion to be timely submitted.

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material fact and the movant is entitled to judgment as a matter of law. Fed. R. Civ. P.

56(a). If there is a dispute over facts that might affect the outcome of the case under

governing law, then entry of summary judgment is precluded. Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 248 (1986). The moving party has the ultimate burden of persuading

the court that there are no disputed material facts and that he is entitled to judgment as a

matter of law. Id. Once a party files a properly supported motion for summary judgment

by either affirmatively negating an essential element of the non-moving party’s claim or

establishing an affirmative defense, “the adverse party must set forth specific facts showing

that there is a genuine issue for trial.” Id. at 250. “The mere existence of a scintilla of

evidence in support of the [non-moving party’s] position will be insufficient; there must be

evidence on which the jury could reasonably find for the [non-moving party].” Id. at 252.

       B.     Threshold Considerations

              1.     The Amazon Defendants

       Pursuant to the “integrated enterprise” doctrine, “two companies may be considered

so interrelated that they constitute a single employer subject to liability under the ADEA

and/or the ADA.” Swallows v. Barnes & Noble Book Stores, Inc., 128 F.3d 990, 994 (6th

Cir. 1997) (citing Armbruster v. Quinn, 711 F.2d 1332, 1337-38 (6th Cir. 1983)). Courts

should consider the following four factors in determining whether to treat two entities as a

single employer: (1) interrelation of operations, i.e., common offices, common record

keeping, shared bank accounts and equipment; (2) common management, common

directors and boards; (3) centralized control of labor relations and personnel; and (4)

common ownership and financial control.           Id.   Although “[n]one of these factors is

conclusive, and all four need not be met in every case,” the third factor is a “central

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concern.” Id.

       Throughout the litigation, the Amazon Defendants insisted that Amazon.com, Inc.

is not a proper defendant because Shulman actually worked for Amazon.com, Inc.’s

subsidiary, Amazon Ky., which operates the LEX1 fulfillment center. (Docs. # 1; 2; 72-1

at 1, n.2). Nevertheless, Shulman contends that Amazon.com, Inc. “exercised control over

operations sufficient to attach liability to it,” as evidenced by the fact that the company

name on the paychecks changed more than once. (Doc. # 87 at 6-7). He also notes that

Amy Derheim could not identify which corporate entity employed her. (Id. at 7). Because

this anecdotal evidence does not even come close to satisfying the “integrated enterprise”

doctrine, the Court will dismiss Amazon.com, Inc. from this action.6

                2.    Shulman’s Complaint

       “[A]llegations of a complaint drafted by a pro se litigant are held to less stringent

standards than formal pleadings drafted by lawyers in the sense that a pro se complaint will

be liberally construed in determining whether it fails to state a claim upon which relief could

be granted.” Jourdan v. Jabe, 951 F.2d 108, 110 (6th Cir. 1991) (noting that “pro se

litigants should not be precluded from resorting to the courts merely for want of

sophistication”). However, courts have been unwilling to completely “abrogate basic

pleading essentials in pro se suits.” Wells v. Brown, 891 F.2d 591, 594 (6th Cir. 1989)

(collecting cases); Pilgrim v. Littlefield, 92 F.3d 413, 416 (6th Cir. 1996) (noting that “the

lenient treatment generally accorded to [pro se] litigants has limits”).


6) Although neither party addressed this issue in their briefing, Shulman pled John Does 1-25 as
Defendants in this action. Because Shulman failed to identify and serve them within the appropriate
time period, the Court will now dismiss them from this action. See Fed. R. Civ. P. 4(m) (requiring
a plaintiff to serve a defendant within 120 days of filing the complaint).

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       Shulman’s complaint alleges that “Defendant Amazon’s termination of [P]laintiff

Shulman’s employment is in violation of the Americans with Disabilities Act and KRS

344.040(1)(a) and breached an implied contract of continued employment.” (Id.). The

Court reads this complaint as stating three claims against Amazon Ky.: (1) disability

discrimination in violation of the ADA; (2) disability discrimination in violation of the KCRA;

and (3) breach of implied-in-fact contract. (Doc. # 1-1 at 4). In his response, Shulman

confirms that this is an appropriate interpretation of his complaint, but believes that the

facts of his case may also support additional claims under the ADA (failure to

accommodate, retaliation, conducting prohibited medical inquiries and harassment) and

FMLA (retaliation and interference). (Doc. # 87 at 6, 17). Because the factual allegations

in the complaint allude to proposed accommodations and FMLA leave, Shulman essentially

asks the Court to infer the existence of such claims. (Id.). If the Court is unwilling to do so,

Shulman indicates that he will seek leave to amend the complaint in the future. (Id.).

       As a pro se litigant, Shulman is certainly entitled to some leeway in his pleadings.

However, he seeks far more than a liberal construction of his complaint. Shulman

essentially asks the Court to review his complaint after discovery has closed and infer the

existence of admittedly un-pled claims. Because the Court believes that such a maneuver

would essentially “abrogate basic pleading essentials in pro se suits,” it will not allow

Shulman to infer the existence of additional ADA and FMLA claims.

       While Shulman has not filed a formal Motion for Leave to Amend, the Court must

advise him that such a Motion would be untimely. He failed to amend his complaint in a

timely fashion and offers no justification for his failure to do so. Accord Fed. R. Civ. P.

15(a) (stating that leave to amend “shall be freely given when justice so requires”); Duggins

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v. Steak ‘n Shake, Inc., 195 F.3d 828, 834 (6th Cir. 1999) (finding that there is “an

increased burden [ ] on the movant at this late stage in the litigation to show justification for

the failure to move earlier”). Given the advanced stage of the litigation, granting Shulman

leave to amend would also create a risk of prejudice to Amazon Ky. See Wade v. Knoxville

Util. Bd., 259 F.3d 452, 459 (6th Cir. 2001) (affirming the district court’s denial of a motion

to amend because discovery had closed and dispositive motions were pending); Duggins,

195 F.3d at 834 (denying amendment of complaint because “defendant would suffer

significant prejudice in having to reopen discovery and prepare a defense for a [different]

claim”). For these reasons, the Court will not entertain future attempts to amend the

complaint.

              3.      Motion to Supplement Response

       The Court must address one more threshold issue before addressing the merits of

the Amazon Defendants’ motion.          Shortly after Amazon Ky.’s Motion for Summary

Judgment (Doc. # 72) became ripe for review, Shulman filed a Motion to Supplement his

Response (Doc. # 91), to which he attached ten exhibits. Most of these exhibits are either

identical to those already attached to Shulman’s response or slightly amended; a few are

new. Amazon Ky. moved to strike all of these exhibits from the record (Doc. # 95), arguing

that Shulman should not be given yet another opportunity to respond to their Motion.7 It

also raises specific objections as to Exhibits 1, 2, 3 and 4. The Court may exercise its

discretion in resolving this issue pursuant to Federal Rule of Civil Procedure 56(e).




7) The Court granted Shulman two extensions of time to respond to the Motion for Summary
Judgment. (Docs. # 75, 85).

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       Although Shulman certainly has had ample opportunity to compose his response,

Amazon Ky.’s timeliness concerns are overstated because most of the exhibits are not

new. They have simply been edited and reorganized into a more accessible format, which

is helpful to the Court in processing these Motions.

       Amazon Ky. argues that Exhibit 1 (Declaration by Julian Shulman) should be

stricken from the record because it is confusing. While Shulman’s original Declaration

listed his age as 42 and included a handwritten date of execution, Exhibit 1 indicates that

Shulman is 43 years old and bears a typewritten date of execution. (Docs. # 87-2; 91-2 at

2-4). While Amazon Ky. is quick to point out these discrepancies, it fails to explain why

these corrections are unduly confusing to the Court. Because these changes have no

bearing on the substantive issues in this case, the Court will allow Exhibit 1 to supersede

Shulman’s original declaration.

       Amazon Ky. lodges a similar complaint as to Exhibit 4 (Excerpt from Deposition of

Operations Manager Shelia Durham). Shulman attached an excerpt to his response, but

now offers a smaller selection of pages. (Docs. # 87-4; 91-2 at 8-14 and 15-33). Amazon

Ky. argues that it is unclear which excerpt Shulman wishes the Court to consider. Because

all of the pages in Exhibit 4 were included in the original attachment, while some of the

pages from the original attachment were omitted from Exhibit 4, it is clear to the Court that

Shulman intends Exhibit 4 to supersede his initial deposition excerpt.

       Amazon Ky. objects to Exhibit 2 (Performance Review Notes) because it is a “new

document.” (Doc. # 95 at 2). These notes discuss Shulman’s performance at LEX1, so

they were likely produced by Amazon Ky. during discovery. Thus, they are not “new” in the

sense that they were not disclosed to Amazon Ky. Their objection seems to be based on

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the fact that this document was not attached to Shulman’s response. This is incorrect.

Shulman attached a copy of these notes to his initial response, rendering Exhibit 2

harmlessly duplicative. (Doc. # 87-3 at 2).

       Finally, Amazon Ky. contends that Exhibit 3 (Integrity Staffing’s Advertisement for

Warehouse Associate Position) should be excluded because it was never disclosed in

discovery. (Doc. # 91-2 at 7, 14). Because the posting is dated August 24, 2011, Amazon

Ky. argues that Shulman must have been aware of the posting prior to the discovery

deadline, and yet he never provided a copy to Amazon Ky. Here, the Court must agree.

The Court has repeatedly warned Shulman that he would be precluded from using any

undisclosed documents to support his claim. (Doc. # 69). Accordingly, Amazon Ky.’s

Motion to Strike is granted only as to proposed Exhibit 3, while Shulman’s Motion to

Supplement the Record is granted except as to proposed Exhibit 3. The Court will not

entertain any further attempts to supplement the record, as Amazon Ky.’s Motion for

Summary Judgment is ripe for review.

       C.      Disability Discrimination Claim8

       The ADA prohibits employers from “discriminat[ing] against a qualified individual on

the basis of disability in regard to job application procedures, the hiring, advancement, or

discharge of employees, employee compensation, job training, and other terms, conditions,




8) Shulman’s Complaint states a claim for violations of the Americans with Disabilities Act and the
Kentucky Civil Rights Act. Because the Americans with Disabilities Act provides the same
protections as the Kentucky Civil Rights Act, the Court will use the federal framework to analyze
both claims. Compare 42 U.S.C. § 12112 with Ky. Rev. Stat. Ann. § 344.010, et seq.; see Bryson
v. Regis Corp., 498 F.3d 561, 754 (6th Cir. 2007); Hallahan v. Courier-Journal, 138 S.W.3d 699,
706-07 (Ky. Ct. App. 2004).

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and privileges of employment.” 42 U.S.C. § 12112(a). Because direct evidence9 of

discriminatory treatment is usually unavailable, the law allows plaintiffs to present indirect

evidence of discrimination using the burden-shifting scheme set forth in McDonnell Douglas

Corp. v. Green. See 411 U.S. 792, (1973); see also Smith v. Chrysler Corp., 155 F.3d 799,

805 (6th Cir. 1998).       The plaintiff must first state a prima facie case of disability

discrimination. Id. If the plaintiff makes the requisite showing, the burden shifts to the

defendant to articulate a legitimate non-discriminatory reason for the adverse action. Id.

The burden then shifts back to the plaintiff to show that the proffered reason is a pretext for

discrimination. Id. The parties agree that McDonnell Douglas is the appropriate test for

Shulman’s claim. (Docs. # 72-1 at 14; 87 at 1).

               1.      Prima facie case

       A prima facie case of disability discrimination in violation of the ADA consists of the

following five elements: (1) the plaintiff is disabled; (2) the plaintiff is otherwise qualified to

perform the essential functions of the position, with or without reasonable accommodation;

(3) the plaintiff suffered an adverse employment action because of his or her disability; (4)

the employer knew or had reason to know of the plaintiff’s disability; and (5) the position

remained open while the employer sought other applicants or the disabled individual was

replaced.10 Whitfield v. Tennessee, 639 F.3d 253, 259 (6th Cir. 2011). Amazon Ky. attacks


9) Direct evidence allows the fact finder to conclude that the employer’s actions were motivated by
unlawful discrimination without drawing any inferences. Smith v. Chrysler Corp., 155 F.3d 799, 805
(6th Cir. 1998); Burress v. City of Franklin, Tenn., 809 F. Supp. 2d 795 (M.D. Tenn. 2011).
Examples include a facially discriminatory employment policy or an employer’s statement of intent
to terminate an employee based on a qualified disability. Id.

10) As Whitfield acknowledged, “[t]here has been some confusion in this circuit as to the proper test
for establishing a prima facie case of employment discrimination under the ADA.” See 639 F.3d
at 258. The Sixth Circuit previously held that only three elements were necessary to state a prima

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only one aspect of Shulman’s prima facie case–whether or not he is disabled.

        The ADA Amendments Act of 2008 (“ADAAA”)11 construes “the definition of

‘disability’ . . . broadly in favor of expansive coverage to the maximum extent permitted by

the terms of the ADA.” 29 C.F.R. § 1630.1(c)(4). Accordingly, an individual is “disabled”

if they satisfy one of the following criteria:

                (A)     a physical or mental impairment that substantially limits one or

                        more major life activities of such individual;

                (B)     a record of such an impairment; or

                ©       being regarded as having such an impairment as described in

                        paragraph (I) of this section.

29 C.F.R. § 1630.2(g)(1); see also 29 C.F.R. § 1630.2(g)(2) (stating that “[a]n individual

may establish coverage under any one or more of these three prongs of the definition of

disability”). “The question of whether an individual meets the definition of disability under

this part should not demand extensive analysis.” 29 C.F.R. § 1630.1(c)(4).




facie case: (1) the plaintiff is an individual with a disability; (2) the individual was otherwise qualified
to perform a job’s requirements, with or without reasonable accommodation; and (3) the plaintiff
was discharged solely by reason of the disability. Mahon v. Crowell, 295 F.3d 585, 589 (6th Cir.
2002). A handful of other cases have stated that the prima facie case is composed of four
elements: (1) the plaintiff was ‘disabled’ within the meaning of the Act; (2) the plaintiff was qualified
for the position, with or without an accommodation; (3) the plaintiff suffered an adverse employment
decision with regard to the position in question; and (4) a non-disabled person replaced the plaintiff
or was selected for the position that the disabled person had sought. See, e.g., Kocsis v. Multi-
Care Mgmt., Inc., 97 F.3d 876, 882 (6th Cir. 1996). In Whitfield, the Sixth Circuit makes it clear that
a prima facie case of disability discrimination consists of five elements, which are set forth in the
body of this Court’s opinion. See 639 F.3d at 259.

11) The ADAAA’s primary purpose is “to make it easier for people with disabilities to obtain
protection under the ADA.” 29 C.F.R. § 1630.1(c)(4).

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       Shulman attempts to establish coverage under the first prong, often referred to as

the “actual disability” prong. Under this prong, “[a]n impairment is a disability . . . if it

substantially limits the ability of an individual to perform a major life activity as compared

to most people in the general population.” 29 C.F.R. § 1630(j)(1)(ii) (further noting that

“[a]n impairment need not prevent, or significantly or severely restrict, the individual from

performing a major life activity in order to be considered substantially limiting”). Major life

activities include “[c]aring for oneself, performing manual tasks, seeing, hearing, eating,

sleeping, walking, standing, sitting, reaching, lifting, bending, speaking, breathing, learning,

reading, concentrating, thinking, communicating, interacting with others, and working.” 29

C.F.R. § 1630.2(i)(1)(I). Although the term ‘substantially limits’ should be “construed

broadly in favor of expansive coverage,” “not every impairment will constitute a disability

within the meaning of this section.” 29 C.F.R. § 1630.2(j)(1)(i)–(ii).

       Amazon Ky. argues that Shulman is not disabled within the meaning of the ADAAA

because his osteoarthritis does not substantially limit his major life activities. In support of

this assertion, Amazon Ky. points out that Shulman reportedly experienced symptoms for

three years before seeking treatment, then disregarded several of Dr. Freels’ orders. He

also rated his pain at a 4 out of 10 at the worst.

       Shulman maintains that Amazon Ky. understates the severity of his condition, as

evidenced by his medical records.12 In the second RMI, Dr. Freels stated that Shulman had



12) Shulman also refers to an RMI completed by his father and an anticipated declaration from Dr.
Freels. He admits that his father’s RMI “may lead to an unnecessary evidentiary dispute so [he]
ha[s] not submitted it at this time.” (Doc. # 87 at 2). He has not yet received Dr. Freels’ declaration,
but believes that it “may clarify what she intended to indicate on that form.” (Id.). Because neither
of these documents were provided to Amazon Ky. before the close of discovery, the Court will not
consider their purported contents.

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a permanent restriction of walking at 75% capacity. (Doc. # 72-15). She also indicated that

Shulman should only work five hours shifts, with any remaining time spent on desk duty.

(Doc. # 72-15). Treatment notes from Dr. Freels and Advantage Physical Therapy

repeatedly state that Shulman’s symptoms ebbed and flowed in relation to the amount of

time spent on his feet. (Doc. # 72-22 at 7, 11–15).

       Based on the record, Shulman’s prima facie case is admittedly a close call. Perhaps

this is why Dr. Freels checked exactly between the “Yes” and “No” boxes when asked

whether Shulman’s condition substantially limited his ability to perform major life activities.

On the one hand, Shulman continued to work, reported low levels of pain and selectively

complied with his doctor’s orders. On the other hand, Shulman could only walk at 75%

capacity and work reduced shifts. He also often reported that working exacerbated his

symptoms. On this record, the Court is not prepared to definitively hold that Shulman’s

osteoarthritis constitutes a disability. However, given the ADAAA’s expansive coverage,

the Court will err on the side of caution and proceed with its analysis on the assumption that

Shulman’s osteoarthritis does substantially limit his major life activities.13 Thus, the Court

must also presume that Shulman has successfully stated a prima facie case of disability

discrimination. The burden now shifts back to Amazon Ky. to articulate a legitimate non-

discriminatory reason for his termination. Whitfield, 639 F.3d at 259.

              2.     Legitimate non-discriminatory reason

       Poor job performance constitutes a legitimate non-discriminatory reason for adverse


13) Even if the Court is too generous in assuming that Shulman is disabled, any errors in this
analysis will have no impact on the ultimate disposition of Amazon Ky.’s Motion. As explained
below, Amazon Ky. is entitled to summary judgment on Shulman’s disability discrimination claim
because he cannot demonstrate pretext.

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action. Whitfield, 639 F.3d at 261-62; see also Imwalle v. Reliance Med. Prod., Inc., 515

F.3d 531, 546 (6th Cir. 2008) (“Poor performance is a legitimate, nondiscriminatory reason

for terminating a person’s employment and, by articulating such a reason, [the defendant]

met its initial burden under the McDonnell Douglas/Burdine framework.”).

       Amazon Ky. maintains that it terminated Shulman’s employment “because he failed

to meet performance criteria, despite numerous chances to improve.” (Doc. # 72-1). This

is consistent with the termination letter sent to Shulman, stating that “[t]his termination is

a result of not meeting productivity expectations.” (Doc. # 72-17). Amazon Ky. further

supports its position with records of Shulman’s productivity coaching sessions, verbal

warnings and written warnings. (Docs. # 72-8; 72-9). Because Amazon Ky. has articulated

a legitimate, non-discriminatory reason for terminating Shulman’s employment, the burden

now shifts back to Shulman to demonstrate that Amazon Ky.’s proffered reason for

termination is a pretext for discrimination.

              3.     Pretext

       A plaintiff may show pretext by demonstrating one of the following: (1) the proffered

reasons had no basis in fact; (2) the proffered reasons did not actually motivate the

employer’s action; or (3) they were insufficient to motivate the employer’s action. Wright

v. Memphis Light, Gas & Water Div., 558 F. App’x 548, 554 (6th Cir. 2014). The plaintiff

must “produce sufficient evidence from which a jury could reasonably reject [the

defendant’s] explanation of why it [took adverse employment action.]” Id. (quoting Chen v.

Dow Chem. Co., 580 F.3d 394, 400 (6th Cir. 2009)). “[T]emporal proximity alone cannot

create a genuine issue of material fact as to whether Defendant’s proffered reason for

termination was pretext, and that the actual motivation was disability discrimination.”

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Joostberns v. United Parcel Servs., Inc., 166 F. App’x 783, 798 (6th Cir. 2006).

         Shulman tries to prove that his termination for poor performance is a pretext for

discrimination using two of the above-referenced methods. (Doc. # 87 at 4-5). First, he

suggests that the proffered reason for his termination has no basis in fact because his job

performance was not poor. He then argues that the proffered reasons did not actually

motivate Amazon Ky.’s action, as evidenced by its behavior around the time of his

termination. (Id.). In support of this proposition, Shulman points to the following instances

of pretextual behavior: (1) Amazon Ky.’s failure to follow normal termination procedures;

(2) its decision to terminate his employment even though his final written warning had

expired; (3) its destruction and/or fabrication of documents; and (4) its decision to terminate

his employment just one and a half months after he requested an at-work accommodation.

(Id.).

         Shulman’s “poor performance” argument lacks merit.                     He points to one

“inconsistency” in the record, cites to a non-existent selection of pages14 and concludes by



14) Specifically, Shulman directs the Court to consider the inconsistency between Amazon Ky.’s
Motion and Shelia Durham’s Deposition. Amazon Ky. explains that “[t]he standard itself is
calibrated regularly based on Amazon’s analysis of performance data that reflects average picker
performance.” (Doc. # 72-1 at 5). When asked about the process for calculating productivity
standards, Durham offered the following explanation:

         So we do a – a yearly rate analysis. So it’s based on a yearly rate analysis
         beginning of the year every year we look at rates and we make that adjustment. Did
         we do any process improvements to increase did we do any – anything different to
         decrease uh we take that analysis and – and – and it’s a it’s from here from A to Z
         and we look at the rates across the boards of all the shifts. And that’s how the rates
         are determined. What’s the average base rate on everything? And we go to the
         seventy fifth (75th) percentile for that rate.

(Doc. # 87-4 at 41). This is not really an inconsistency, but rather two ways of stating the same
overall point. Shulman also cites to Defendant’s Exhibit 4 (Excerpt from Shulman’s Deposition),
pages 19-25 and 35. Shulman cannot be referring to the actual pages of the PDF, as it is only 17

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stating that he “does not have time to brief this issue extensively at this point.” (Id.).

However, his brief references to “average picker performance” and “expectations” lead the

Court to believe that Shulman disagrees with Amazon Ky.’s methods for calculating the

productivity standards. At his deposition, Shulman admitted that his numbers were

consistently below the productivity rate and that “the numbers are most likely very close to

a hundred percent right.” (Doc. # 72-21 at 12). However, Shulman insisted that “they put

you in a catch-22," stating that “[t]he catch-22 is to place quality, as you are told to do,

above productivity, your productivity will suffer.” (Id.). When asked why Amazon Ky. could

not expect an employee to meet both quality and productivity standards, Shulman stated

that “if we look at the data from the people that I was working with, you’ll find that their

expectation’s [sic] are rarely met.” (Id.).

       Although Shulman had some positive notes in his file, the record reflects that he

struggled to meet the productivity standards throughout the course of his employment.

(Docs. # 90-1; 91-2). In approximately three years, Shulman received performance

counseling at least fourteen times. (Docs. # 72-8; 72-9). His second written warning even

stated that his “overall performance is consistently in the bottom 25% of overall performers

in your department.” (Doc. # 72-9 at 11). Rather than disputing the accuracy of these

figures, Shulman insists that Amazon Ky.’s standard is flawed. While he is certainly free

to disagree with Amazon Ky.’s policy, he is not excused from complying with it, just as all

Warehouse Associates are expected to do. Thus, Amazon Ky.’s proffered reason for

termination does have a basis in fact.


pages long, but those deposition pages are not included in the excerpt. Thus, it is unclear what
evidence Shulman wants the Court to consider.

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       Shulman next argues that Amazon Ky. failed to follow its normal termination policy,

but he does not specify how Amazon Ky. deviated from its normal policy or which aspect

of the policy it neglected on this occasion. He simply states that “[i]t’s pre-termination

investigation consists of at most one email.” (Doc. # 87 at 5). Later in his response, he

notes that his “performance during the week mentioned in the termination letter, June 19-

26, 2011 did not garner any notice at Amazon until . . . it was used on July 14 or 13 as a

or the basis for [his] termination.” (Doc. # 87 at 11).

       These factual assertions are supported by the record. However, there is simply no

evidence to suggest that these actions or inactions were contrary to Amazon Ky.’s

termination policy. Shulman has not attached any documents detailing the employee

termination process at LEX1. He does not point to any testimony from Area Managers or

Human Resources representatives stating that Amazon Ky. failed to follow its own

termination policies in his case. He can only draw unsupported inferences from neutral

facts, which are insufficient to demonstrate that Amazon Ky.’s proffered reason for

termination did not actually motivate its decision.

       Shulman also questions whether he was terminated in accordance with the

“progressive discipline” policy. Amazon Ky. maintains that Shulman’s final written warning

from February 13, 2011 was still active when he returned to work on May 23, 2011. (Doc.

# 72-1 at 10-11). Even though more than ninety days had elapsed, Amazon Ky. explains

that Shulman’s fifty-six day leave of absence did not count towards the warning’s expiration

date. (Id.). Shulman twice failed to meet productivity standards after returning to work, but

Amazon Ky. issued coaches so that he could have “a couple of weeks to reacclimatize to

the workplace.” (Id.; Doc. # 91-2 at 34). Shulman offers a different perspective of these

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events: “Amazon states that they have a practice of leniency upon return to work . . . and

that this is why I received coaching in May. But is it not possible that I received coaching

in May because the final written warning had already expired because as the policy

describes, 90 days had passed?” (Doc. # 87 at 20).

       Although there is nothing in the record explicitly stating that leaves of absence are

excluded from active warning periods, email correspondence between Shulman’s Area

Manager and HR personnel lends support to Amazon Ky.’s position. (Doc. # 91-2 at 34).

The Area Manager carefully emphasizes the timing of the final written warning in relation

to Shulman’s leave of absence and final mistakes, suggesting that the warning remained

active after Shulman’s return to work. (Id.). He also notes that the coaches were issued

“due to poor performance following his return from LOA,” thus tying the decision to coach

Shulman to his recent leave of absence. (Id.). This evidence is certainly not conclusive,

but Shulman offers nothing to counter it. He cannot point to any documents or testimony

stating that warnings ran only for ninety days, regardless of time off. Instead, he asks the

Court to find that his own suppositions are sufficient to infer the existence of pretext. This

the Court will not do.

       Shulman then alleges that Amazon Ky. destroyed and/or fabricated documents

during the pendency of this litigation. In support of this assertion, he notes that some of the

productivity coaching and corrective action reports are unsigned, undated and marked with

non-sequential bar code numbers. (Doc. # 87 at 5). His photograph is also missing from

these reports. (Id.). However, the record reflects that HR representatives created these

reports each time an employee failed to meet productivity standards, then gave the Area

Managers printed copies for the employee’s review and signature. (Doc. # 72-7 at 4). The

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record also indicates that employee photographs are unavailable once their badge has

been deactivated. (Doc. # 91-2 at 32). At best, Shulman has simply established that the

unsigned documents were printed during the pendency of the litigation.

       In fact, these same characteristics lead the Court to a less nefarious inference.

Because Amazon Ky. also provided several signed copies of Shulman’s performance

counseling records, the more likely explanation is that it only included the unsigned copies

when the originals were unavailable. Absent any evidence that Amazon Ky. actually

destroyed the signed copies or created the unsigned copies after Shulman’s termination,

his argument fails.

       Shulman’s last pretext argument centers on the temporal proximity between his

requests for accommodation and his termination. Amazon Ky. terminated his employment

within two months of his request for FMLA leave and about a month and a half after his

request for an at-work accommodation. (Docs. # 72-16; 72-17; 91-2 at 34, 36). His

termination also occurred on the day that his part-time FMLA leave was calculated to end.

(Id.). These events occurred close enough in time to constitute some evidence of pretext.

However, timing alone cannot support a finding of pretext–it must be accompanied by other

evidence. Joostberns, 166 F. App’x at 798. Shulman has no other evidence. He has only

suppositions, as is clear from his deposition:

       Q:     Well, and so why do you – what are your suspicions or what are your

              speculations about why you were terminated?

       A:     That I was terminated because – oh, goodness – partially for

              productivity, partially because I was a troublesome patient with a

              medical condition, troubled –

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       Q:     Well, now, wait. Let’s go down that path. What in the world –

       A:     But they’re just suspicions. I think – I think it’s premature.

       Q:     Well, I don’t think it’s premature. I think when somebody files a

              lawsuit they need a factual basis to file the lawsuit.

(Doc. # 72-21 at 15). Such unsupported inferences are insufficient to satisfy the McDonnell

Douglas burden shifting test and create a genuine issue of material fact. Therefore,

Amazon Ky. is entitled to summary judgment on Shulman’s disability discrimination claim.

       D.     Claim for Breach of Implied-in-Fact Contract

       An implied-in-fact contract is “not an ‘anticipated’ contract but rather a true contract

that ‘requires an actual agreement or meeting of the minds although not expressed.’” BDT

Products, Inc. v. Lexmark Int’l, Inc., 274 F. Supp. 2d 880, 886 (E.D. Ky. 2003) (quoting

Kellum v. Browning’s Adm’r, 21 S.W.2d 459, 466 (Ky. 1929)). The existence of terms and

conditions of such a contract are inferred from the circumstances or acts of the parties. Id.

These “‘circumstances must be sufficient to clearly and convincingly manifest or prove a

mutual assent of minds to enter into the contract sought to be implied or established.’” Id.

(internal citations omitted). There must also be “at least some semblance of definiteness

as to what services were to be rendered, when they were to begin and how long they were

to last, and what was promised in recompense for the services.” Veluzat v. Janes, 462

S.W.2d 194, 196 (Ky. 1970).

       Shulman’s claim for breach of implied-in-fact contract seems to be based solely on

one conversation he had with his Area Manager, Jason Thomas:

       Q:     You didn’t have an employment contract with Amazon, did you?

       A:     We did not enter into a written contract, to the best of my knowledge.

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      I do believe that since I’ve been doing some reading that we did have – I

      can’t remember exactly what it’s called. I think one of the terms is an implied

      – an implied contract that was entered into –

      Q:        And what was –

      A:        – much later.

      Q:        What was the implied contract?

      A:        That no adverse employment action would be taken against me prior

      to being advised of my current disciplinary status or – what do they call it? –

      disciplinary – I think they do call it disciplinary status.

      Q:        And what’s the basis for your belief that there was some kind of

      implied contract to that effect?

      A:        To keep it fairly short, statements and – made numerous times, in

      which I was sometimes a party to, that there was a – a – what do they call it?

      – a – part of it was a performance improvement plan – progressive discipline

      policy.

      Q:        And that’s the basis for your belief that there was an implied contract?

      A:        That’s part of the basis. Thank you for prompting me.

                Also that Mr. Thomas initiated a discussion in which he told me that

      I would soon to be specifically told whether I was on final warning or whether

      all my discipline warnings had expired.

(Doc. # 72-21 at 2-3).

      Because Shulman’s offer letter clearly stated that any additions or modifications to

the terms of his employment had to be in writing and signed by both Shulman and an

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Amazon Ky. officer, and because no such writing existed in this case, Amazon Ky.

contends that there is plainly no mutual assent.15           Amazon Ky. further argues that

Shulman’s testimony only evidences his unilateral understanding that no adverse action

would be taken against him until his disciplinary status had been verified. The Court

agrees–there is no evidence to clearly and convincingly prove a mutual assent of minds to

enter into the contract sought to be implied. There being no genuine issue of material fact

on this claim, Amazon Ky. is entitled to summary judgment.

       E.      Class Action Claims

       Although a “trial court has broad discretion in deciding whether to certify a class, [

] that discretion must be exercised within the framework of Rule 23.” In re Am. Med. Sys.,

Inc., 75 F.3d 1069, 1078-79 (6th Cir. 1996) (citing Gulf Oil Co. v. Bernard, 452 U.S. 89, 100

(1981)). Before certifying a class, the court must ensure that four prerequisites are

satisfied–numerosity, commonality, typicality and adequacy of representation. Fed. R. Civ.

P. 23(a)(1)–(4). Pleadings alone are insufficient to certify a class action. In re Am. Med.

Sys., Inc., 75 F.3d at 1078-79.

       Courts have declined to establish a minimum number of claimants needed to certify

a class action. Id. However, the class must be “so numerous that joinder of all members

is impracticable.” Fed. R. Civ. P. 23(a)(1). The class members’ claims must arise from the

same event or practice or course of conduct and must involve common questions of law




15) Amazon Ky. also argues that Shulman waived his right to pursue this claim by failing to address
it in his response to the Motion for Summary Judgment. See McPherson v. Kelsey, 125 F.3d 989,
995-96 (6th Cir. 1997) (“[I]ssues adverted to in a perfunctory manner, unaccompanied by some
effort at developed argumentation, are deemed waived.”). While the law authorizes the Court to
find that Shulman has waived this claim, the Court would prefer to address it on the merits.

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and fact. Fed. R. Civ. P. 23(a)(2)-(3). Finally, the representative parties must be able to

“fairly and adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). The

Sixth Circuit has held that “non-attorneys proceeding pro se cannot adequately represent

a class.” Ziegler v. State of Michigan, 90 F. App’x 808, 810 (6th Cir. 2004); see also

Powers v. NWA, Inc., No. 05-2468-B/P, 2006 WL 984738, at *2 (W.D. Tenn. Apr. 13, 2006)

(“Permitting [a pro se plaintiff] to represent a class would violate Fed. R. Civ. P. 11(a) and

28 U.S.C. § 1654 and would represent the unauthorized practice of law by [plaintiff.]”).

         In this case, Shulman has failed to satisfy any of the prerequisites necessary to

certify a class. He has not specifically identified any other potential class members, making

him a class of one. Without any other class members, commonality and typicality are

clearly non-existent. And finally, Shulman is not an appropriate representative party for

potential class claims because he is proceeding pro se. Shulman concedes as much, but

suggests that this Court appoint “class counsel” to investigate these allegations further.

The Court is not inclined to grant such relief, as it is unaware of any legal precedent to

support Shulman’s request. Furthermore, it is not the Court’s job to go on a fishing

expedition and attempt to resuscitate a dying class action claim brought by a pro se

plaintiff. Thus, Amazon Ky. is entitled to summary judgment on Shulman’s class action

claim.




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IV.    Conclusion

       Accordingly, for reasons stated herein,

       IT IS ORDERED as follows:

       (1)    The Amazon Defendants’ Motion for Summary Judgment (Doc. # 72) be, and

is hereby, GRANTED IN FULL; and

       (2)    A Judgment shall be entered contemporaneously herewith.

       This 20th day of April, 2015.




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